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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )                4:08CR3031
                                     )
           V.                        )
                                     )
AMY L. MCNALLY,                      )                   ORDER
                                     )
                  Defendants.        )
                                     )


     IT IS ORDERED:


     1. The unopposed oral motion of the defendant to continue
the plea hearing is granted. The change of plea hearing is
continued from June 9, 2008 to July 16, 2008 at 3:30 p.m.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).


     DATED this 3rd day of June, 2008.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
